Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 1 of 8




        Exhibit Z
       Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 2 of 8




                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                             MDL No. 2323
INJURY LITIGATION
                                                       Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,                             Civ. Action No. 14-00029-AB
            Plaintiffs,

                 v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


    DECLARATION OF BRADFORD R. SOHN IN SUPPORT OF CO-LEAD CLASS
      COUNSEL’S PETITION FOR AN AWARD OF ATTORNEY’S FEES AND
              REIMBURSEMENT OF COSTS AND EXPENSES

       Bradford Rothwell Sohn declares as follows pursuant to 28 U.S.C. § 1746:

       1.       I am licensed to practice law in Florida, currently doing so through my firm The

Brad Sohn Law Firm, PLLC.

       2.       I submit this declaration in support of Co-Lead Class Counsel’s Petition for an

Award of Attorney’s Fees and Reimbursement of Costs and Expenses in connection with and for

services rendered and expenses incurred for the common benefit of the Settlement Class in the
       Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 3 of 8




above-captioned multidistrict litigation (“Action”) from the inception of the litigation through

July 15, 2016.

       3.        I note that this declaration and supporting materials were submitted later, due to

the regrettable complication of my previous firm having received the timesheet materials and the

delay in my receiving them. For this reason, my declaration and supporting materials were

submitted at or around the beginning of 2017, causing the regrettable delay. Nevertheless, at all

times during this action, I have been the sole timekeeper involved and I understand that my time

has not otherwise been submitted for consideration. I have personal knowledge of the matters set

forth in this declaration and, if called upon, I could and would testify competently thereto.

       4.        The schedule attached hereto as Exhibit 1 summarizes the amount of common

benefit time personally spent by me, including, among other work, gathering important data

about the injuries suffered by my clients for the use by the PSC, and working with members of

the Client Resolution/Ethics Committee from the April 2013 time period through the July 15,

2016 time period. I have submitted no time for support staff. The lodestar calculation is based

on my firm’s billing rates, also current through the 2016 time-period. I note that my rates have

since increased, but this change is not reflected herein. The attached, referenced schedule was

prepared from contemporaneous daily time records regularly prepared and maintained by me

personally. Time expended in preparing this application has been excluded.

       5.        My hourly rate of $525 noted in Exhibit 1 is the same as what I have charged for

non-contingent work on an hourly basis until February 1, 2017 (now less than what I charge for

non-contingent work) or for rates paid to attorneys of comparable experience and reputation in

the relevant legal market. This rate has been accepted by prior courts as well as the American




                                                  2
       Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 4 of 8




Arbitration Association. The American Arbitration Association recently accepted my newly

increased rate last month when awarding my fees at $595 dollars per hour.

       6.      The total number of hours expended on the common benefit of this Action all

exclusively by myself, Brad R. Sohn, during the time period, is 50.0 hours. My total lodestar for

those hours is $26,250.00, consisting of $525.00 for my time.

       7.      My firm’s lodestar figures are based solely upon my firm’s billing rates, which

rates do not include charges for expense items.

       8.      With respect to the standing of my firm to share in an award attached hereto as

Exhibit 2 is a biography.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 28, 2017, in Miami, Florida.




                                                      Bradford R. Sohn




                                                  3
Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 5 of 8




                    Exhibit 1




                               4
    Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 6 of 8




  IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS’ CONCUSSION INJURY
                             LITIGATION
                  THE BRAD SOHN LAW FIRM, PLLC
                          No. 12-md-2323-AB
                         LODESTAR REPORT
                     Inception through July 15, 2016

                                 HOURLY
NAME                       HOURS RATE               AMOUNT
BRADFORD R. SOHN, ESQ.     50.0  $525.00            $26,250.00
TOTAL                      50.0  $525.00            $26,250.00




                                   5
Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 7 of 8




                    Exhibit 2




                               6
       Case 2:12-md-02323-AB Document 7464-2 Filed 04/10/17 Page 8 of 8




       Bradford Rothwell Sohn, Esq. represents individuals, businesses, and plaintiff classes
in litigation matters. His practice focuses on catastrophic injury and wrongful death,
commercial, and complex litigation in state and federal courts throughout the United States with
a entire career entirely devoted to representing “the little guy.” Brad received his A.B. degree
cum laude from Harvard University and his J.D., cum laude from the University of Miami
School of Law. In 2016 alone, Brad’s nationwide single-plaintiff (e.g. non-consolidated, non-
aggregate settlement) wrongful death, medical malpractice, and products liability settlements
exceeded ten million dollars for his clients. Big Tobacco’s $100,000,000 global settlement (In
re Engle Progeny Cases, M.D. Fla.) in early 2015 was also achieved, in part, through Brad’s
individual contributions.

       Brad’s ongoing notable representations a “bellweather” case in the New Jersey pelvic
mesh litigation, a medical malpractice matter involving a high net worth individual with wage
losses exceeding $16,000,000, several class action matters, a Ford Explorer rollover case, and
the continued representation of retired NFL football players (In re NFL Players’ Concussion
Injury Litigation, MDL No. 2323). Brad has spent significant time devoted to the
representation of catastrophically injured athletes and is one of few attorneys who have already
recovered millions of dollars for NFL retirees. He has defeated robust labor defenses including
301/labor-preemption multiple times as well as workers’ compensation exclusivity.

        Brad has also performed common benefit work for MDL-2541 (In Re National Collegiate
Athletic Association Athletic Grant-In-Aid Cap Antitrust Litigation) where a proposed class of
all current and former recipients of athletic grants-in-aid (scholarships) seeks damages for, and
an injunction from the NCAA’s alleged violation of antitrust law for failing to compensate
college football and basketball scholarship athletes.

         As an active member of bar and community associations, Brad has served by
appointment on committees for the American Association for Justice, as an alumni interviewer
for Harvard University for the past 10 years, and sits on the national advisory board for a non-
profit organization dedicated to advancing the study, treatment, and prevention of the effects of
brain trauma in athletes and other at-risk groups. Prior to starting The Brad Sohn Law Firm,
Brad learned and practiced with several of the nation’s top plaintiffs’-side complex litigation and
personal injury firms. A former college football player at Duke and Harvard, Brad’s experiences
in this regard have led him to a unique sports niche within his practice.




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